          Case 3:15-cr-02821-BAS Document 340 Filed 06/21/18 PageID.5243 Page 1 of 4
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case
                                                                                                           FILED

                                        UNITED STATES DISTRICT Co
                                           SOUTHERN DISTRICT OF CALIFORNIA
              UNITED STATES OF AMERICA
                                   v.                               (For Organizational Defendants)
        WILLOWS CONSULTING COMPANY (6)
                                                                      Case Number:  l 5CR282 l-BAS
                                                                    THOMAS MESEREAU, SHARON APPELBAUM, AND
                                                                    JOHN GORDON
                                                                    Defendant Organization's Attorney
REGISTRATION NO.

D -
D     pleaded guilty to count(s)

IZI was found guilty on count(s)          1, 2-16, 18-20, 23-36, AND 37-42 OF THE SUPERSEDING INDICTMENT
    after a plea ofnot guiltv.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                       Count
Title & Section                     Nature of Offense                                                                 Number(s)
18 USC 1349                         CONSPIRACY TO COMMIT HONEST SERVICES MAIL FRAUD                                       1
18 USC 1341, 1346 AND 2             HONEST SERVICES MAIL FRAUD AND AIDING AND ABETTING                                  2-16
18 USC 1343, 1346 AND 2             HONEST SERVICES WIRE FRAUD AND AIDING AND ABETTING                                   18-20
18 USC 1347 AND 2                   HEALTH CARE FRAUD AND AIDING AND ABETTING                                           23-36
18 USC 1952(a)(l), (a)(2),          TRAVEL ACT AND AIDING AND ABETTING                                                  37-42
AND2

    The defendant organization is sentenced as provided in pages 2 through
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
                                                                                  4
                                                                                --- - - of this judgment.
D     The defendant has been found not guilty on count(s)

!ZI   Count(s)    17, 21 & 22 dismissed on 12/6/17; 43 - 45       dismissed 11/27/17 on the motion ofthe United States.

      Assessment: $15,600 ($400 EACH COUNT)
IZI


IZI   See fine page           D Forfeiture pursuant to order filed                                                , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any
material change in the defendant's economic circumstances.

                                                                    JUNE 18. 2018



                                                                    HON. CYNTHIA BASHANT
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                15CR2821-BAS
             Case 3:15-cr-02821-BAS Document 340 Filed 06/21/18 PageID.5244 Page 2 of 4
  AO 245B (CASO Rev. 08/13) Judgment in a Criminal Case for Organizational Defendants

   DEFENDANT:                   WILLOWS CONSULTING COMPANY (6)                                                              Judgment - Page 2 of 4
   CASE NUMBER:                 I 5CR2821-BAS




                                                                 PROBATION
The defendant organization is hereby sentenced to probation for a term of:
FIVE (5) YEARS EACH COUNT TO RUN CONCURRENT TO EACH OTHER FOR A TOTAL OF FIVE (5) YEARS.



     The defendant organization shall report to the probation office within 72 hours from the date of sentencing.




_x_ The defendant organization shall not commit another Federal, state, or local crime.
_x_    The defendant organization shall comply with the standard conditions that have been adopted by this court (set forth below).




         If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant organization pay
    any such fine or restitution in accordance with the Schedule of Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                         STANDARD CONDITIONS OF PROBATION
      I) within thirty days from the date of this judgment, the defendant organization shall designate an official of the organization to act as the
         organization's representative and to be the primary contact with the probation officer;

     2) the defendant organization shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

      3) the defendant organization shall notify the probation officer ten days prior to any change in principal business or mailing address;

      4) the defendant organization shall permit a probation officer to visit the organization at any of its operating business sites;

      5) the defendant organization shall notify the probation officer within seventy-two hours of any criminal prosecution, major civil litigation,
         or administrative proceeding against the organization;

      6) the defendant organization shall not dissolve, change its name, or change the name under which it does business unless this judgment and all
         criminal monetary penalties imposed by this court are either fully satisfied or are equally enforceable against the defendant's successors or
         assignees;

      7) the defendant organization shall not waste, nor without permission of the probation officer, sell, assign, or transfer its assets.




                                                                                                                                 15CR2821-BAS
          Case 3:15-cr-02821-BAS Document 340 Filed 06/21/18 PageID.5245 Page 3 of 4
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case for Organizational Defendants

DEFENDANT:               WILLOWS CONSULTING COMPANY (6)                                         Judgment - Page 3 of 4
CASE NUMBER:             15CR2821-BAS

                                  SPECIAL CONDITIONS OF PROBATION

     1. Pursuant to 18 U.S.C. § 3561(a)(l), any sentence of probation shall include the condition that the
        organization not commit another federal, state, or local crime during the term of probation.

     2.    The organization shall notify the court or probation officer immediately upon learning of (a) any
          material adverse change in its business or financial condition or prospects, or (b) the commencement of
          any bankruptcy proceedings against the organization, or any investigation or formal inquiry by the
          governmental authorities regarding the organization.

     3. The organization shall submit to: (A) a reasonable number ofregular or unannounced examinations of
        its books and records at appropriate business premises by the probation officer or experts engaged by the
        court; and (B) interrogation of knowledgeable individuals within the organization. Compensation to and
        costs of any experts engaged by the court shall be paid by the organization.

     4. The organization will notify the Asset Forfeiture Section, U.S. Attorney's Office, of any interest in
        property valued over $5,000 obtained, directly or indirectly, including any interest obtained under any
        other name, or entity, including a trust, partnership or corporation until the forfeiture judgment is paid in
        full.

     5. The organization will notify the Asset Forfeiture Section, U.S. Attorney's Office, before defendant
        transfers any interest in property valued over $5,000 owned directly or indirectly by defendant, including
        any interest held or owned under any other name or entity, including trusts partnerships and/or
        corporations, until the forfeiture judgment is paid in full.




II
II
II




                                                                                                    15CR2821-BAS
          Case 3:15-cr-02821-BAS Document 340 Filed 06/21/18 PageID.5246 Page 4 of 4
AO 245S (CASD Rev. 08/13) Judgment in a Criminal Case

   DEFENDANT:              WILLOWS CONSULTING COMPANY (6)                                      Judgment - Page 4 of 4
   CASE NUMBER:            15CR2821-BAS

                                                     FINE


  The defendant shall pay a fine in the amount of      $500,000
                                                      ~~-"---~~~~~-
                                                                               unto the United States of America.

  Pay a fine in the amount of $500,000 through the Clerk, U.S. District Court. Payment of fine shall be
  forthwith. The defendant shall pay the fine during its probation at the rate of $500 per month. These payment
  schedules do not foreclose the United States from exercising all legal actions, remedies, and process available
  to it to collect the fine judgment at any time.




  This sum shall be paid    IZI   Immediately.




  The Court has determined that the defendant       does      have the ability to pay interest. It is ordered that:
  D   The interest requirement is waived




                                                                                                      15CR2821-BAS
